       Case 1:21-cr-00040-TNM Document 136-1 Filed 09/27/21 Page 1 of 3




                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   September 27, 2021

VIA Email

Lindy Urso, Esq.                                   Elizabeth Toplin
lindy@lindyursolaw.com                             Elizabeth_Toplin@fd.org
Counsel for Defendant McCaughey                    Kathleen Gaughan
                                                   Kathleen_Gaughan@fd.org
Lauren Cobb, Esq.                                  Counsel for Defendant Morss
Lauren_Cobb@fd.org
Counsel for Defendant Stevens                      Stanley Woodward
                                                   stanley@brandwoodwardlaw.com
Elizabeth Mullin                                   Kristin McGough
Elizabeth_Mullin@fd.org                            kristin@kmcgoughlaw.com
Counsel for Defendant Judd                         Counsel for Defendant Klein

Joseph McBride                                     Sabrina Shroff
jmcbride@mcbridelawnyc.com                         Sabrina_Shroff@fd.org
Counsel for Defendant Quaglin                      Counsel for Defendant Mehaffie

John Kiyonaga                                      Marina-Thais Douenat
john@johnckiyonaga.com                             Marina_Douenat@fd.org
Counsel for Defendant SILLS                        Counsel for Defendant Cappuccio




       Re:    United States v. Patrick McCaughey, Tristan Stevens, Christopher Quaglin,
David Judd, Robert Morss, Geoffrey Sills, David Mehaffie, Steven Cappuccio, and Federico
Klein, 21-CR-40 (TNM) - Production 13


       As part of our ongoing discovery production in this case, we produced the following
information on September 27, 2021:
        Case 1:21-cr-00040-TNM Document 136-1 Filed 09/27/21 Page 2 of 3




           1. 4,044 files (over one terabyte) consisting of U.S. Capitol Police (“USCP”) Closed
              Circuit Video (“CCV”) footage from 118 cameras has been shared to the defense
              instance of evidence.com. The contents of footage being shared includes video
              from the interior of the U.S. Capitol Visitor Center and from the Capitol grounds.
              These files are designated Sensitive under the protective order. Additional footage
              will be provided on a rolling basis, as we ingest it into our own instance of
              evidence.com.

           2. Twenty files that are exhibits to previously produced USCP OPR reports, and a
              corresponding index, have been shared via USAfx and you should have received a
              notification via email. Any applicable sensitivity designations are reflected in the
              index. Additional exhibits will be provided on a rolling basis as we continue to
              ingest and quality-check them.

           3. Forty-two files that consist of MPD internal investigation reports and exhibits,
              and a corresponding index, have been shared via a second, separate USAfx
              production, and you should have received a notification via email. These reports
              and exhibits are unredacted and thus designated Highly Sensitive under the
              protective order.

        As with all files shared via USAfx, the files auto-delete after 60 days. Please download
before then. PLEASE NOTE: Counsel for Defendants Mehaffie, Klein, and Cappuccio: As
these productions contain materials that are sensitive or highly sensitive, we will provide
access to the folders to you as soon as the Protective Order is in place.

        The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as
the Discovery Liaison for defense counsel in Capitol Breach cases. FPD is currently reviewing
the various features of evidence.com and testing out the capabilities of the program with sample
data. Within the next two weeks, FPD will be sending out information to defense counsel that
includes a point-of-contact for discovery-related inquiries, the procedures to follow for obtaining
a license to access evidence.com, and a quick start guide for defense counsel to use with
evidence.com.

        It has come to our attention that there are sensitivities that must be addressed prior to
large scale disclosure of body-worn-camera footage. We are working diligently to resolve these
issues and in the interim we have produced a sample of fifty body-worn-camera files to FPD’s
instance of evidence.com. This sample will allow our technological teams to discuss the
necessary infrastructure and workflows that need to be implemented. Ultimately, we intend to
produce the majority of body-worn-camera footage with the least restrictive applicable
sensitivity designations, if any, in order to facilitate defendant review.

      In the near future, we expect to provide tools that will assist your review of the
voluminous video footage described above, to include:

                                                 2
       Case 1:21-cr-00040-TNM Document 136-1 Filed 09/27/21 Page 3 of 3




       1. Camera maps for USCP CCV;
       2. Our work product, consisting of a spreadsheet and related zone maps, identifying
          body-worn-camera footage by agency, officer, video start time, a summary of events,
          and location of the camera in 15-minute increments; and
       3. Global Positioning Satellite information for Metropolitan Police Department radios,
          which may be of some assistance in identifying officers whose body-worn-cameras
          were recording at a particular time and location.

        I will forward additional discovery as it becomes available. If you have any questions or
if you fail to receive two separate USAfx invitations in connection with this production, please
feel free to contact me.

                                                    Sincerely,




                                                    Jocelyn Bond
                                                    Assistant United States Attorney


                                                    Kimberley Nielsen
                                                    Assistant United States Attorney


Enclosure(s):
cc:




                                                3
